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                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION

LUIS SALAZAR AND MARIA                               §
SALAZAR,                                             §
                                                     §
            Plaintiffs,                              §
                                                     §       CIVIL ACTION NO. __________
v.                                                   §
                                                     §
ALLSTATE TEXAS LLOYD’S,                              §
                                                     §
            Defendant.                               §


              DEFENDANT ALLSTATE TEXAS LLOYD’S NOTICE OF REMOVAL


TO THE HONORABLE COURT:

            Pursuant to 28 U.S.C. §§ 1441 and 1446, Defendant Allstate Texas Lloyd’s in Cause No.

2016-83965, pending in the 333rd Judicial District Court of Harris County, Texas, files this Notice

of Removal from that court to the United States District Court for the Southern District of Texas,

Houston Division, on the basis of diversity of citizenship and amount in controversy and

respectfully shows:

                                               I.
                                      FACTUAL BACKGROUND

            1.1     On or about December 6, 2016, Plaintiffs filed Plaintiffs’ Original Petition in the

matter styled Luis Salazar and Maria Salazar v. Allstate Texas Lloyd’s, Cause No. 2016-83965,

pending in the 333rd Judicial District Court of Harris County, Texas, in which Plaintiffs made a

claim for damages to [his/her/their] home under a homeowner’s insurance policy with Allstate

Texas Lloyd’s.




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            1.2   Plaintiffs served Defendant Allstate Texas Lloyd’s (“Allstate”) with Plaintiffs’

Original Petition and process on December 21, 2016, by process server on its registered agent,

CT Corporation System.

            1.3   Simultaneously with the filing of this notice of removal, attached hereto as

Exhibit A is the Index of Matters Being Filed. A copy of the Harris County District Clerk’s file

for this case is attached as Exhibit B which includes true and correct copies of all executed

process, pleadings and orders, and a copy of the docket sheet. Attached hereto as Exhibit C is

the Designation of Counsel.

                                               II.
                                       BASIS FOR REMOVAL

            2.1   Defendant files this notice of removal within 30 days of receiving Plaintiffs’

Original Petition. See 28 U.S.C. §1446(b). This Notice of Removal is being filed within one

year of the commencement of this action. See id.

            2.2   Removal is proper based upon diversity of citizenship under 28 U.S.C.

§§ 1332(a)(1), 1441(a), and 1446.

            A.    THE PARTIES ARE OF DIVERSE CITIZENSHIP.

            2.3   Plaintiffs are, and were at the time the lawsuit was filed, natural persons and

residents of Harris County in the State of Texas and thus, are citizens of Texas. See Plaintiffs’

Original Petition, ¶ 6.2. On information and belief, Plaintiffs intend to continue residing in

Texas and are thus domiciled in Texas. See Hollinger v. Home State Mut. Ins. Co., 654 F.3d

564, 571 (5th Cir. 2011) (evidence of a person’s place of residence is prima facie proof of his

state of domicile, which presumptively continues unless rebutted with sufficient evidence of

change).




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            2.4   Defendant Allstate Texas Lloyd’s was, and at the date of this Notice, remains an

association of underwriters whose individual underwriters are all residents and citizens of the

State of Illinois and New Jersey. 1 “The United States Supreme Court has consistently held for

over one hundred years that the citizenship of an unincorporated association [such as Allstate] is

determined . . . solely by the citizenship of its members.” See Massey v. State Farm Lloyds Ins.

Co., 993 F. Supp. 568, 570 (S.D. Tex. 1998); see also Gore v. Stenson, 616 F. Supp. 895, 898-

899 (S.D. Tex. 1984) (recognizing years of Supreme Court precedent reaffirming the treatment

of unincorporated associations for jurisdictional purposes). 2 The individual underwriters of

Allstate Texas Lloyd’s and their citizenship are as follows: 1). Donald J. Bailey – New Jersey;

2). Teresa J. Dalenta – Illinois; 3). Kimberley M. Bartos - Illinois; 4). William G. Hill – Illinois;

5). James W. Jonske – Illinois; 6). Katherine A. Mabe – Illinois; 7). Laurie Pellouchoud –

Illinois; 8). Richard J. Smith, Jr. – Illinois; 9). Myron E. Stouffer – Illinois; and 10.) Steven C.

Verney - Illinois. Accordingly, Allstate Texas Lloyd’s is a citizen of the States of Illinois and

New Jersey. Allstate Texas Lloyd’s is not a citizen of the State of Texas.

            B.    THE AMOUNT IN CONTROVERSY EXCEEDS THE JURISDICTIONAL
                  REQUIREMENTS FOR SUBJECT MATTER JURISDICTION.

            2.5   In determining the amount in controversy, the court may consider “policy limits...

penalties, statutory damages, and punitive damages.”                   St. Paul Reinsurance Co., Ltd. v.

Greenberg, 134 F.3d 1250, 1253 (5th Cir. 1998); see Ray v. State Farm Lloyds, No. CIV.A.3:98-

CV-1288-G, 1999 WL 151667, at * 2-3 (N.D. Tex. Mar. 10, 1999) (finding a sufficient amount

in controversy in plaintiff’s case against their insurance company for breach of contract, fraud,


1
  See Royal Ins. Co. v. Quinn-L Capital Corp., 3 F.3d 877, 882-884 (5th Cir. 1993), cert. denied, 522 U.S. 815
(1997); see also Massey v. State Farm Lloyds Ins. Co., 993 F. Supp. 568, 570 (S.D. Tex. 1998).
2
  “Fifth Circuit jurisprudence is equally clear.” See Massey, 993 F. Supp. at 570 (citing International Paper Co. v.
Denkmann Assoc., 116 F.3d 134, 137 (5th Cir. 1997)).



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negligence, gross negligence, bad faith, violations of the Texas Insurance Code, violations of the

Texas Deceptive Trade Practices Act, and mental anguish); Fairmont Travel, Inc. v. George S.

May Int’l Co., 75 F. Supp.2d 666, 668 (S.D. Tex. 1999) (considering DTPA claims and the

potential for recovery of punitive damages for the amount in controversy determination); Chittick

v. Farmers Ins. Exch., 844 F. Supp. 1153, 1155 (S.D. Tex. 1994) (finding a sufficient amount in

controversy after considering the nature of the claims, the types of damages sought and the

presumed net worth of the defendant in a claim brought by the insureds against their insurance

company for actual and punitive damages arising from a claim they made for roof damages).

            2.6   This is a civil action in which the amount in controversy exceeds $75,000.00.

Plaintiffs allege that Defendant is liable under a residential insurance policy because Plaintiffs

made a claim under that policy and Defendant wrongfully adjusted and denied Plaintiffs’ claim.

            2.7   Plaintiffs have specifically pled that they are seeking monetary relief over

$100,000, but not more than $200,000. See Plaintiffs’ Original Petition, ¶ 9.1. This evidence

clearly demonstrates that the amount in controversy in this case exceeds the jurisdictional

requirements.

                                        III.
                       THE REMOVAL IS PROCEDURALLY CORRECT

            3.1   Defendant Allstate was first served with Plaintiffs’ Original Petition and process

on December 21, 2016. This notice of removal is filed within the 30-day time period required by

            3.2   Venue is proper in this District and Division under 28 U.S.C. §1446(a) because

this District and Division include the county in which the state action has been pending and

because a substantial part of the events giving rise to Plaintiffs’ claims allegedly occurred in this

District and Division.




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            3.3   Pursuant to 28 U.S.C. §1446(a), all pleadings, process, orders, and all other filings

in the state court action are attached to this Notice.

            3.4   Pursuant to 28 U.S.C. §1446(d), promptly after Defendant files this Notice,

written notice of the filing will be given to Plaintiffs, the adverse party.

            3.5   Pursuant to 28 U.S.C. §1446(d), a true and correct copy of this Notice of Removal

will be filed with the Clerk of the Harris County District Court, promptly after Defendant files

this Notice.

                                                 IV.
                                             CONCLUSION

            4.1   Based upon the foregoing, the exhibits submitted in support of this Removal and

other documents filed contemporaneously with this Notice of Removal and fully incorporated

herein by reference, Defendant Allstate Texas Lloyd’s hereby removes this case to this Court for

trial and determination.

                                                     Respectfully submitted,

                                                     /s/ Vanessa A. Rosa
                                                     Vanessa A. Rosa
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                                                     ATTORNEYS FOR DEFENDANT
                                                     ALLSTATE TEXAS LLOYD’S


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                                    CERTIFICATE OF SERVICE

      This is to certify that on January 20, 2017, a copy of this document was served to all
Counsel of Record via electronic notice and/or certified mail, return receipt requested to:

                   Jesse S. Corona
                   jesse@theCoronaLawfirm.com
                   THE CORONA LAW FIRM, PLLC
                   521 N Sam Houston Pkwy E, Ste. 420
                   Houston, Texas 77068


                                              /s/ Vanessa A. Rosa
                                                   Vanessa A. Rosa




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